
679 N.W.2d 320 (2004)
470 Mich. 863
PEOPLE of the State of Michigan, Plaintiff-Appellee,
v.
Eric Charles GOLEMBIEWSKI, Defendant-Appellant.
Docket No. 123094, COA No. 244588.
Supreme Court of Michigan.
May 7, 2004.
On order of the Court, the application for leave to appeal the November 26, 2002 order of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the question presented should be reviewed by this Court. See People v. Perks (On Remand), 259 Mich.App. 100, 672 N.W.2d 902 (2003), lv. den. 469 Mich. 1022, 676 N.W.2d 625 (2004).
CORRIGAN, C.J., dissents and states as follows:
I respectfully dissent from the order denying leave to appeal. I adhere to the views expressed in my previous concurring *321 statement in People v. Perks, 469 Mich. 864, 666 N.W.2d 267 (2003).
